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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

TERRENCE LYLES and                            *
KIMBERLY LYLES,
                                              *
        Plaintiffs,
                                              *
v.                                                   Case No.: 1:21-CV-00994-DLB
                                              *
MANUFACTURERS & TRADERS,
 TRUST COMPANY d/b/a M&T BANK, *

        Defendant.                            *

*       *        *     *      *       *       *      *       *       *      *       *          *

     DEFENDANT’S DISCLOSURE OF AFFILIATIONS AND FINANCIAL INTEREST

        Defendant Manufacturers and Traders Trust Company d/b/a M&T Bank (“Defendant”),

by and through its undersigned counsel and pursuant to Fed. R. Civ. P. 7.1 and Local Rule 103.3,

hereby submits this Disclosure of Affiliations and Financial Interest and states as follows:

        1.       Corporate Affiliations. Manufacturers and Traders Trust Company is a wholly

owned subsidiary of M&T Bank Corporation, a publicly traded company whose stock is traded

on the New York Stock Exchange under the ticker symbol MTB.

        2.       Financial Interest in the Outcome of the Litigation. Other than the entities

identified in Paragraph 1, there is no corporation, unincorporated association, partnership, or

other business entity not a party to the case that has, or may have, a financial interest in the

outcome of this litigation.

                                              Respectfully submitted,

                                              /s/ Brian L. Moffet
                                              Brian L. Moffet (Fed Bar No. 13821)
                                              Joshua R. Chazen (Fed. Bar. No. 06837)
                                              MILES & STOCKBRIDGE P.C.
                                              100 Light Street
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                                          Counsel for Defendant M&T Bank




                             CERTIFICATE OF SERVICE

      I hereby certify that on May 17, 2021, a copy of the foregoing was served on counsel of

record via ECF.



                                             /s/ Brian L. Moffet
                                             Brian L. Moffet




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